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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE

CROSSPOINT CHURCH,                           )
                                             )
          Plaintiff,                         )
                                             )
               v.                            )       Civil Action No. 23-cv-00146-JAW
                                             )
A. PENDER MAKIN, in her official             )
capacity as Commissioner of the              )
Maine Department of Education, et al.,       )
                                             )
          Defendants.                        )

                             AFFIDAVIT OF MEGAN WELTER

       I, Megan Welter, being duly sworn, do depose and state as follows:

   1. I am the Associate Commissioner of Public Education for the Maine Department of

       Education. I have held this position since July 1, 2022. Prior to becoming an Associate

       Commissioner, I was the Department’s Director of Policy and Governmental Affairs.

   2. One of my official duties is to oversee the approval of private schools for the receipt of

       public funds for tuition purposes.

   3. From the date that the Supreme Court issued its decision in Carson v. Makin, the

       Department has understood that it may not prevent private schools from receiving

       approval for the receipt of public funds for tuition purposes solely because they are

       sectarian.

   4. On July 28, 2022, Cheverus High School, a sectarian high school in Portland, Maine,

       applied for approval for the receipt of public funds for tuition purposes.

   5. The Department processed Cheverus’ application in the same manner that it processed

       applications for any private school seeking approval for tuition purposes for the first

       time.

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  6. Cheverus’ application was approved on September 16, 2022.

  7. No other sectarian school has applied for approval for the receipt of public funds for

     tuition purposes.

  8. Bangor Christian Schools has not applied for approval for the receipt of public funds for

     tuition purposes.

  9. To the best of my knowledge, Bangor Christian Schools has not contacted Department

     personnel regarding the process for applying for approval.



  I declare under penalty of perjury that the foregoing statements are true and correct.

                                                    Executed on April 28, 2023



                                                    /s/ Megan Welter
                                                    Megan Welter




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